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                            UNITED STATES DISTRICT COURT

                            EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                       *       CIVIL ACTION
                                            *
                                            *       NO. 2:20-cv-2679
VERSUS                                      *
                                            *       JUDGE GREG GERARD GUIDRY
THE ADMINISTRATORS OF THE                   *
TULANE EDUCATIONAL FUND                     *       MAGISTRATE JUDGE KAREN WELLS ROBY


                                 NOTICE OF SUBMISSION

       PLEASE TAKE NOTICE, that Defendant, the Administrators of the Tulane Educational

Fund (“Tulane”), will submit for decision its 12(b)(6) Motion to Dismiss and 12(f) Motion to

Strike before the Honorable Greg G. Guidry, United States District Judge for the Eastern District

of Louisiana, on Wednesday, August 4, 2021, at 9:00 a.m.

                                            Respectfully Submitted:

                                            By: /s/ Walter F. Becker, Jr.
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                                                Walter F. Becker, Jr. (La. Bar No. 1685)
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